    Case 1:20-cr-00164-AT Document 1-1 Filed 05/08/20 Page 1 of 2
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                                                                    U.S. D. C. Atlanta


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                                                              JAMES?N/HATJEM Cleri
                                                              By: Ui4^W/M^^ Clerk

               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION



   United States of America
                                           Criminal Information
         V.

                                           No. 1:20-CR-164
   Xiao-Jiang Li




The United States Attorney charges that:


               Making and Subscribing a False Tax Refami
                             (26 U.S.C § 7206(1))

   On or about April 13, 2016, in the Northern District of Georgia/ the

defendant/ XIAO-JIANG LI/ did willfully make and subscribe a U.S.

Individual Income Tax Return/ JSS Form 1040, for the calendar year of

2015, which was verified by a written declaration that it was made under

the penalties of perjury and which was filed with the Internal Revenue

Service, and which LI did not believe to be true and correct as to every

material matter, in that the said income tax return reported total income on

Line 22 in the amount of $352/244, whereas LI then and there knew and

believed that his total income was in excess of the amount reported/ in

violation of Title 26, United States Code/ Section 7206(1).
   Case 1:20-cr-00164-AT Document 1-1 Filed 05/08/20 Page 2 of 2




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 United States Attorney



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